Case 1:22-cr-20421-BB Document 1 Entered on FLSD Docket 08/25/2022 Page 1 of 11




                                 22-mj-03444-McAliley

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Case 1:22-cr-20421-BB Document 1 Entered on FLSD Docket 08/25/2022 Page 2 of 11




                                                   22-mj-03444-McAliley




    August 25, 2022
Case 1:22-cr-20421-BB Document 1 Entered on FLSD Docket 08/25/2022 Page 3 of 11
Case 1:22-cr-20421-BB Document 1 Entered on FLSD Docket 08/25/2022 Page 4 of 11
Case 1:22-cr-20421-BB Document 1 Entered on FLSD Docket 08/25/2022 Page 5 of 11
Case 1:22-cr-20421-BB Document 1 Entered on FLSD Docket 08/25/2022 Page 6 of 11
Case 1:22-cr-20421-BB Document 1 Entered on FLSD Docket 08/25/2022 Page 7 of 11
Case 1:22-cr-20421-BB Document 1 Entered on FLSD Docket 08/25/2022 Page 8 of 11
Case 1:22-cr-20421-BB Document 1 Entered on FLSD Docket 08/25/2022 Page 9 of 11
Case 1:22-cr-20421-BB Document 1 Entered on FLSD Docket 08/25/2022 Page 10 of 11
Case 1:22-cr-20421-BB Document 1 Entered on FLSD Docket 08/25/2022 Page 11 of 11




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